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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   No. 4:14CR00010-05 JLH

ROBERT YOUNG, JR.                                                                      DEFENDANT

                                              ORDER

       On the 16th day of May, 2014, this action came before the Court on Robert Young, Jr.’s

appeal of the Order of Detention entered by United States Magistrate Judge Beth Deere. Robert

Young, Jr., appeared in person and with his lawyer, John C. Collins, II. The government appeared

through Assistant United States Attorney Anne Gardner. Pursuant to 18 U.S.C. § 3145, this Court

conducted a de novo review, which included reviewing the transcript of the hearing before

Magistrate Judge Deere and giving the parties an opportunity to present additional evidence.

       Based upon a review of all of the evidence, the Court finds that there are no conditions of

release that would reasonably assure the appearance of Robert Young, Jr., as required, and the safety

of the community. The offense on which Young has been indicted is a drug trafficking offense,

which Congress has determined presents a danger to the community. The indictment by the Grand

Jury establishes that there is probable cause to believe that Young has committed the offense. There

is strong evidence against Young. Furthermore, Young was convicted of murdering two individuals

in 1992, so he has significant convictions for violent offenses in the past. The evidence suggests that

he was involved in trafficking very large amounts of cocaine in this case. The quantities involved

are sufficient to indicate that Young represents a danger to the community.
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       Young has proposed his mother as a third-party custodian, and he has proposed that he be

released to enter drug treatment. Based on the evidence explained above, the Court does not believe

that these conditions of release would adequate assure the safety of the community.

       Young’s motion for amendment to the Order of Detention is therefore DENIED. Document

#196. The Order of Detention previously entered by Magistrate Judge Deere will remain in effect.

       IT IS SO ORDERED this 16th day of May, 2014.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE




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